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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION
ROSE WHITFIELD, ,:
Plaintiff, CASE NO.: l(;
_VS_ 31 \7~CV'\ 331-31 w K-_:
GENESIS BANKCARD SERVICES, INC., :(:
Defendant. / y :

 

COMPLAINT AND DEMAND FOR JURY TRIAL

COMES NOW Plaintiff, ROSE WHITFIELD, by and through the undersigned counsel,
and sues Defendant, GENESIS BANKCARD SERVICES, INC., and in support thereof
respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 el
seq. (“'I`CPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq.
(“FCCPA”).

INTRODUCTION

l. The TCPA was enacted to prevent companies like Defendant from invading
American citizen’s privacy and prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving intrusive
and unwanted telephone calls.” Mims v. Ar)'ow Fin. Servs., LLC, -US--, 132 S.Ct., 740, 745, 181,
L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of
modern civilization, they wake us up in the morning; they interrupt our dinner at night; they
force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the
wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

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subscribers another option: telling the auto-dialers to simply stop calling.” Osorio v. State Farm
Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014).

4. According to the Federal Communications Commission (FCC), “Unwanted calls
and texts are the number one complaint to the FCC. There are thousands of complaints to the
FCC every month on both telemarketing and robocalls. The FCC received more than 215,000
TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and Empower Consumers
Against Unwanted Robocalls, Texts to Wr'reless Phones, Federal Communications Commission,
(May 27, 2015), http://transition.fcc.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-
333676Al.pdf.

JURISDICTION AND VENUE

2. This is an action for damages exceeding Seventy-Five 'I`housand Dollars
($75,000.00) exclusive of attorney fees and costs.

3. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

4. Subject matter jurisdiction, federal question jurisdiction, for purposes of this
action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts
shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties
of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See
Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,
746 F.3d 1242, 1249 (11th Cir. 2014)

5. The alleged violations described herein occurred in Duval County, Florida.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2) as it is the

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judicial district in Which a substantial part of the events or omissions giving rise to this action

occurred.
FACTUAL ALLEGATIONS
6. Plaintiff is a natural person, and citizen of the State of Florida, residing in Duval
County, Florida

7. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

8. Plaintiff is an “alleged debtor.”

9. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d
1265 (11lh Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (l lth Cir. 2014).

10. Defendant is a corporation which was formed in Oregon with its principal place
of business located at 15220 NW Greenbrier Parkway, Suite 200, Beaverton, Oregon 97006 and
which conducts business through its registered agent, C T Corporation System located at 388
State Street, Suite 420, Salem, Oregon 97301.

ll. The debt that is the subject matter of this Complaint is a “consumer debt” as
defined by Florida Statute §559.55(6).

12. Defendant called Plaintiff on Plaintiff’s cellular telephone hundreds of times in an
attempt to collect an alleged debt.

13. Defendant attempted to collect an alleged debt from Plaintiff by this campaign of
telephone calls.

14. Plaintiff is the subscriber, regular user, and carrier of the cellular telephone

number (904) ***-5254 and was the called party and recipient of Defendant’s calls.

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15. Upon receipt of the calls from Defendant, Plaintiff's caller ID identified the calls
were being initiated from, but not limited to, the following telephone numbers: (904) 661-0038
and (813) 940-5192.

16. Upon information and belief, some or all of the calls Defendant made to
Plaintist cellular telephone number were made using an “automatic telephone dialing system”
which has the capacity to store or produce telephone numbers to be called, using a random or
sequential number generator (including but not limited to a predictive dialer) or an artificial or
prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(l) (hereinaiter
“auto~dialer calls”). Plaintiff will testify that she knew it was an auto-dialer because of the vast
number of calls she received and because she heard a pause when she answered her telephone
before a voice came on the line and she received prerecorded messages from Defendant.

17. On several occasions over the last four (4) years Plaintiff instructed Defendant’s
agent(s)/representative(s) to stop calling her cellular telephone.

18. In or about May 2017, Plaintiff answered a call from Defendant to her
aforementioned cellular telephone number. Plaintiff spoke to an agent/representative of
Defendant and informed the agent/representative that the calls to her cellular telephone were
harassing and demanded that Defendant cease all calls to her cellular telephone number
immediately.

l9. Each subsequent call Defendant made to Plaintiffs aforementioned cellular
telephone number was knowing and willful and done so without the “express consent” of

Plaintiff.

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20. Despite clearly and unequivocally revoking any consent Defendant may have
believed they had to call Plaintiff on her cellular telephone, Defendant continues to place
automated calls to Plaintiff.

21. In or about October 2017, Plaintiff answered an automated call from Defendant.
Plaintiff spoke to an agent/representative of Defendant and explained to the agent/representative
that she has asked Defendant to cease calling her cellular telephone previously and again
demanded a cessation of calls from Defendant to her cellular telephone,

22. All of Plaintiff’s demands for a cessation of telephone call from Defendant were
ignored.

23. Defendant intentionally harassed and abused Plaintiff on numerous occasions by
calling several times during one day, and on back to back days, with such frequency as can
reasonably be expected to harass.

24. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice to individuals just as they did to Plaintiff’s cellular telephone in
this case,

25. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice just as they did to Plaintiff’s cellular telephone in this case, with
no way for the consumer, Plaintiff, or Defendant to remove the number.

26. Defendant’s corporate policy is structured so as to continue to call individuals like
Plaintiff, despite these individuals explaining to Defendant they wish for the calls to stop.

27. Defendant has numerous other federal lawsuits pending against them alleging

similar violations as stated in this Complaint.

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28. Defendant has numerous complaints across the country against them asserting that
their automatic telephone dialing system continues to call despite requested to stop.

29. Defendant has had numerous complaints from consumers across the country
against them asking to not be called; however, Defendant continues to call the consumers

30. Defendant’s corporate policy provided no means for Plaintiff to have her number
removed from Defendant’s call list.

31. Defendant has a corporate policy to harass and abuse individuals despite actual
knowledge the called parties do not wish to be called.

32. Not a single call placed by Defendant to Plaintiff was placed for “emergency
purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

33. Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff.

34. From each and every call placed without consent by Defendant to Plaintiff`s
cellular telephone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon her
right of seclusion.

35. From each and every ca11 without express consent placed by Defendant to
Plaintiff’s cellular telephone, Plaintiff suffered the injury of occupation of her cellular telephone
line and cellular telephone by unwelcome calls, making the telephone unavailable for legitimate
callers or outgoing calls while the telephone was ringing from Defendant’s calls,

36. From each and every call placed without express consent by Defendant to
Plaintiff's cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of her time.
For calls she answered, the time she spent on the call was unnecessary as she repeatedly asked
for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the

telephone and deal with missed call notifications and call logs that retiected the unwanted calls,

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This also impaired the usefulness of these features of Plaintiff’s cellular telephone, which are
designed to inform the user of important missed communications

37. Each and every call placed without express consent by Defendant to Plaintiff’s
cellular telephone was an injury in the form of a nuisance and annoyance to Plaintiff. For calls
that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for
unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with missed call
notifications and call logs that reflected the unwanted calls, 'I`his also impaired the usefulness of
these features of Plaintiff’s cellular telephone, which are designed to inform the user of
important missed communications

38. Each and every call placed without express consent by Defendant to Plaintiff`s
cellular telephone resulted in the injury of unnecessary expenditure of Plaintist cellular
telephone’s battery power.

39. Each and every call placed without express consent by Defendant to Plaintiff's
cellular telephone where a voice message was left which occupied space in Plaintiff’s telephone
or network.

40. Each and every call placed without express consent by Defendant to Plaintiff`s
cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel, namely her cellular
telephone and her cellular telephone services.

41. As a result of the calls described above, Plaintiff suffered an invasion of privacy.
Plaintiff was also affect in a personal and individualized way by stress, anxiety, and aggravation

_CLUM_!
(Violation of the TCPA)

42. Plaintiff fully incorporates and realleges paragraphs one (1) through forty two

(42) as if fully set forth herein.

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43. Defendant willfully violated the TCPA with respect to Plaintiff, especially for
each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified
Defendant that she wished for the calls to stop.

44. Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §
227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages, treble
damages, enjoinder from further violations of these parts and any other such relief the court may
deem just and proper.

COUNT II
(Violation of the FCCPA)

45. Plaintiff fully incorporates and realleges paragraphs one (l) through forty two
(42) as if fully set forth herein

46. At all times relevant to this action Defendant is subject to and must abide by the
laws of the State of Florida, including Florida Statute § 559.72.

47. Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of his or her family with such frequency as can reasonably be
expected to harass the debtor or his or her family.

48. Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other
conduct which can reasonably be expected to abuse or harass the debtor or any member of his or

her family.

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the court may deem just and proper.

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Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and
continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages, costs,

interest, attorney fees, enjoinder from further violations of these parts and any other such relief

Respectfully submitted,

/s/Amy M Ferrera

Amy M. Ferrera, Esquire
Florida Bar No.: 15313

Morgan & Morgan, Tampa, P.A.
One Tampa City Center

201 N. Franklin Street, 7th Floor
Tampa, FL 33602

Tele: (813) 223-5505

Fax: (813) 223-5402
AMFerrera@ForThePeople.com
AFloyd@ForThePeople.com
Attorneyjbr Plaintiff

